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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE MIDDLE DISTRICT OF LOUISIANA
                          BATON ROUGE DIVISION


CANDACE COLEMAN                                  §
                                                 §
               Plaintiff                         §
                                                 §
v.                                               §   Civil Action No. 3:16-cv-00253
                                                 §
                                                 §    Honorable Judge Shelly D. Dick
AMCOL SYSTEMS, INC;                              §           Article III Judge
And EXPERIAN INFORMATION                         §
SOLUTIONS, INC.                                  §    Honorable Richard L. Bourgeois, Jr
                                                 §            Magistrate Judge
                                                 §
                                                 §

                            NOTICE OF SETTLEMENT


      NOW COMES Plaintiff, to file this Notice, and in support would show as follows.

      1. Plaintiff is filing this notice to inform this Court that Plaintiff has settled

         their claim with Amcol Systems, Inc.

      2. The parties anticipate that it will take no longer than thirty (30) days to

         finalize all of the documentation required to terminate this litigation and have

         an agreed Stipulation of Dismissal filed dismissing Amcol Systems, Inc.



                                               Respectfully submitted,

                                                 /s/ Jonathan Raburn
                                               Jonathan Raburn
                                                LA Bar Roll No. 28728
                                                The Raburn Law Firm, LLC
                                                301 N. Main Street, Suite 2200
                                                Baton Rouge, LA 70825
                                                Jonathan@geauxlaw.com
                                                Attorney for Plaintiff


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                           CERTIFICATE OF SERVICE

I hereby certify that on the 30th day of November, 2016, I electronically filed the
foregoing with the Clerk of Court using the CM/ECF system which will send notification
of such filing to the attorneys on record:

Date Signed this the 30th day of November, 2016


                                               /s/ Jonathan Raburn
                                             Jonathan Raburn
                                              LA Bar Roll No. 28728
                                              The Raburn Law Firm, LLC
                                              301 N. Main Street, Suite 2200
                                              Baton Rouge, LA 70825
                                              Jonathan@geauxlaw.com
                                              Attorney for Plaintiff




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